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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :              24-cr-494 (CKK)
               v.                              :
                                               :
VEER CHETAL,                                   :
                                               :
       Defendant.                              :
                                               :

    GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION FOR RELEASE

       The government continues to object to Mr. Chetal’s release pending trial. The government

reincorporates and largely relies on its previous motions and arguments. ECF Docs. 13, 20.

       While the government initially believed that Mr. Chetal was involved with an October 2024

social engineering theft, it appears that he was not involved in the substantive theft. He did however

receive approximately $200,000 in proceeds he knew to be stolen and received them from another

social engineer with whom he had previously worked on large cryptocurrency thefts.

       The government’s concerns rest largely on the status of Mr. Chetal’s current proceedings.

He has entered a guilty plea and faces a significant guidelines sentencing range, 235-293 months

incarceration. As the Court noted, he will face a term of incarceration and the government will

certainly request a substantial term of incarceration. He and his family have no ties to the United

States at this point and will either be removed or deported when their visas and sentences are

complete. Considering the status of the case and the impending substantial prison sentence, Mr.

Chetal has strong incentives to flee and little motivation to stay.

       The government commends Mr. Chetal’s new counsel’s efforts to obtain release for a

young man who has made impulsive and reckless decisions without considering the consequences

of his actions. The government also commends Mr. Chetal for promptly admitting his violations
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immediately after retaining new counsel and apologizing for this poor decision-making. All said,

the concerns of flight continue. Any one of the uncharged Co-Conspirators, including those

involved in the October 2024 theft, could easily pay for Mr. Chetal to flee the country in an effort

to avoid him testifying against their Co-Conspirators in 24-cr-417. Admittedly, the government

does not have evidence that this would happen, but it is not beyond reason to think that they would

aid members of the enterprise by making Mr. Chetal’s testimony unavailable through financial

compensation. For these reasons, the most conservative approach to ensure Mr. Chetal’s presence

at sentencing and through trial in 24-CR-417 is to continue his pre-trial detention as the Court

previously ordered.

                                             Respectfully submitted,

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